
PER CURIAM:
This claim was submitted for decision based upon the allegations of the Notice of Claim and respondent’s Answer.
Claimant seeks payment of the sum of $408.15 for medical services rendered to various inmates of the Anthony Correctional Center. Respondent, in its Answer, admits the validity of the claim, but states that there were insufficient funds remaining in its appropriation for the fiscal year in question from which the claim could be paid.
While this is a claim which in equity and good conscience should be paid, the Court is of the opinion that an award cannot be made based on the decision in Airkem Sales and Service, et al. vs. Department of Mental Health, 8 Ct.Cl. 180 (1971).
Claim disallowed.
